Case 3:23-cv-01592-S Document 7-1 Filed 08/09/23 Page 1of3 PagelD 317

UNITED STATES DISTRICT COURT.
for the LULS |

NORTHERN DISTRICT OF TEXAS

THE HONORABLE BARBARA J. HOUSER §
(RET.), INHER CAPACITY AS TRUSTEE §
OF THE BSA SETTLEMENT TRUST, §
§
Plaintiff(s), §

v. § Civil Action No. 3:23-ev-01592-S
§
ALLIANZ GLOBAL RISKS US §
INSURANCE COMPANY, et al., §
§
Defendant(s). §

RETURN OF SERVICE

Came to my hand on Friday, August 4, 2023 at 10:50 AM,
Executed at: 175 BERKLEY STREET, BOSTON, MA 02117
at 3:35 PM, on Friday, August 4, 2023,

by delivering to the within named:

LIBERTY SURPLUS INSURANCE CORPORATION

by personally delivering to Supervisor, BRANDON BROWN
a true copy of this

SUMMONS IN A CIVIL ACTION; COMPLAINT
with EXHIBITS A & B and CIVIL COVER SHEET

BEFORE ME, the undersigned authority, on this day personally appeared WILLIAM H. DEWSNAP, III who after being
duly sworn on oath states: "My name is WILLIAM H. DEWSNAP, III. | am a person not less than eighteen (18) years of
age and I am competent to make this oath. ] am a resident of the State of Massachusetts. I have personal knowledge of the
facts and statements contained herein and aver that each is true and correct. I am not a party to nor related or affiliated
with any party to this suit. | have no interest in the outcome of the suit. | have never been convicted of a felony or of a
misdemeanor involving moral turpitude.

——_ a

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By: oe QT
WILLIAM H. DEWSNAB, III - Process Server

Subscribed and Sworn to by WILLIAM H. DEWSNABP, III, Before Me, the undersigned

authority, on this Ef day of August, 2023.
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Case 3:23-cv-01592-S Document 4-1 Filed 07/18/23 Page 29 of 77 PagelD 218

AO 440 (Rev. 12/09) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Houser
Plaintiff

V.

Civil Action No. 3:23-cv-01592-S

Allianz Global Risks US Insurance

Company et al
Defendant

wwe rer vr YS

Summons in a Civil Action

TO: Liberty Surplus Insurance Corporation

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. i2(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff's attorney, whose name and address are:

Jeffrey Tillotson
1201 Main Street
Suite 1300

Dallas , TX 75202

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT AMES ISTE

DATE: 07/18/2023 a8, ME Ay

~ oO

Signature of Clerk or Deputy Clerk

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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 3:23-cev-01592-S

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, ifany)

was received by me on (date)

[personally served the summons on the individual at (place)

on (date) ; or

[I left the summons at the individual's residence or usual place of abode with (name)

. aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or
[I served the summons on (name of individual) , who is designated
by law to accept service of process on behalf of (name of organization)

on (date) 5 or
[I returned the summons unexecuted because > or

[other (specify)

My fees are $ for travel and $ for services, fora total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, ete:
